Case 2:19-cv-00376-RBS-RJK Document 1-2 Filed 07/18/19 Page 1 of 35 PagelD# 7

 

Civil Division
150 ST. PAUL'S BLVD 7TH FLOOR
NORFOLK VA 23510
(757) 769-8539

Summons

To: MARCUS PORTER “a e No, 710CL19006091-00
3341 ARGONNE AVE
NORFOLK VA 23509

The party upon whom this summons and the attached complaint are served is hereby notified
that unless within 2] days after such service, response is made by filing in the clerk's office
of this court a pleading in writing, in proper legal form, the allegations and charges may be
taken as admitted and the court may enter an order, judgment, or decrée against such party
either by default or after hearing evidence.

Appearance in person is not required by this summons.
Done in the name of the Commonwealth of Virginia on,Monday, June 17, 2019

Clerk of Court: GEORGE E. SCHAEFER III

by ALOU [hit
| ] (CLE v EPUT )

Instructions:

Hearing Official:

DEANS, ALASTAIR

Attorney's name: 757-412-9026

 
Case 2:19-cv-00376-RBS-RJK Document 1-2 Filed 07/18/19 Page 2 of 35 PagelD# 8

COVER SHEET FOR FILING CIVIL ACTIONS

COMMONWEALTH OF VIRGINIA

Joseph Covell Brown

PLAINTIFF(S)

I, the undersigned [ ] plaintiff [ ] defe

Case No. wu. Ssorteneatsctenensecsnienegneesssueuse vss ouaascrasenean case,
(CLERK’S OFFICE USE ONLY)
Norfolk City” re neonnernetanttanimminnetecsiteieninauetisntatnan Circuit Court
vesvsueseensestenee vin re: -ommmeattafCus Porter, Norfolk State University,

DEFENDANT(S)
...1faeei K. Johnson and the Commonwealth of Virginia _

ndant [X] attorney for [x] plaintiff [ ] defendant hereby notify the Clerk of Court that 1 am filing

the following civil action. (Please indicate by checking box that most closely identifies the claim being asserted or relief sought.)

GENERAL CIVIL
Subsequent Actions

[ ] Claim Impleading Third Party Defendant

[ ] Monetary Damages
[ ] No Monetary Damages
[ ] Counterclaim
[ ] Monetary Damages
[ ] No Monetary Damages
[ ] Cross Claim
[ ] Interpleader
{ ] Reinstatement (other than divorce or
driving privileges)
[ ] Removal of Case to Federal Court
Business & Contract
[ ] Attachment
[ ] Confessed Judgment
[ ] Contract Action
[ ] Contract Specific Performance
[ ] Detinue
[ ] Garnishment
Property
[ ] Annexation
[ ] Condemnation
[ ] Ejectment
[ }] Encumber/Sell Real Estate
[ ] Enforce Vendor’s Lien
[ ] Escheatment
[ J Establish Boundaries
[ ] Landlord/Tenant
[ ] Unlawful Detainer
[ } Mechanics Lien
[ ] Partition
[ ] Quiet Title
[ ] Termination of Mineral Rights
Tort
{ ] Asbestos Litigation
[ ] Compromise Settlement
[ ] Intentional Tort
[ ] Medical Malpractice
[ ] Motor Vehicle Tort
[ ] Product Liability
{ ] Wrongful Death
[x] Other General Tort Liability

[x] Damages in the amount of $ .10,000,000.00

von gdlastair C, Deans -

ADMINISTRATIVE LAW PROBATE/WILLS AND TRUSTS
[ ] Appeal/Judicial Review of Decision of [ ] Accounting
(select one) [ ] Aid and Guidance
[ ] ABC Board { ] Appointment (select one)

[ ] Board of Zoning

[ ] Compensation Board

[ ] DMV License Suspension

[ ] Employee Grievance Decision
[ J Employment Commission

{ ] Local Government

[ ] Marine Resources Commission
[ ] School Board

{ ] Voter Registration

[ ] Other Administrative Appeal

[ ] Guardian/Conservator
[ } Standby Guardian/Conservator
[ ] Custodian/Successor Custodian (OTMA)

[ ] Trust (select one)

{ ] Impress/Declare/Create
[ } Reformation

[ } Will (select one)

{ J] Construe
[ ] Contested

MISCELLANEOUS
( ] Amend Death Certificate
[ ] Appointment (select one)
[ ] Church Trustee
[ ] Conservator of Peace

DOMESTIC/FAMILY
[ ] Adoption
[ ] Adoption - Foreign
( ] Adult Protection

[ ] Annulment { ] Marriage Celebrant
[ ] Annulment — Counterclaim/Responsive [ ] Approval of Transfer of Structured
Pleading Settlement
[ ] Child Abuse and Neglect ~ Unfounded ] Bond Fortviture Appeal

[
Complaint | } Declaratory Judgment
[ J Civil Contempt | } Declare Death
{ ] Divorce (select one) | ] Driving Privileges (select one)
[ ] Complaint — Contested* [ } Reinstatement pursuant to § 46.2.427
[ ] Complaint ~ Uncontested* [ ] Restoration — Habitual Offender or 3°4
{] Counterclaim/Responsive Pleading Offense

  
 
 

 

[ ] Reinstatement — { ] Expungement
Custody/Visitation/Support/Equitable [ ] Firearms Rights — Restoration
Distribution [ ] Forfeiture of Property or Money

[ ] Separate Maintenance [ ] Freedom of Information

[ ] Separate Maintenance Counterclaim [ J Injunction

[Pe { ] Interdiction
WRITS te
[ ] Certiorari
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Correct Erroneous State/Local

‘}-Vehicle Confiscation
[ ] Voting Rights ~ Restoration
[ } Other (please specify)

 

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Hob. OC in
(TPCAINTIFF [ ] DEFENDANT inl ATTORNEY FOR fxd PLAINTIEF
[ ] DEFENDANT

 

wane scabag
“Contested” divorce means any of the following matiers are in
dispute: grounds of divorce, spousal support and maintenance,
child custody and/or visitation, child Support, property distribution
or debt allocation, An “Uncontested” divorce is filed on no fault
weeeeseccccnenane stounds and none of the above issues are in dispute.

wenn AEST) 412 8026

_..., alastairedeans@gm COM co
EMAIL. ADDRESS OF SIGNATOR (OPTIONAL)
FORM CC-1416 (MASTER) PAGE ONE 07/16

 

 

 
Case 2:19-cv-00376-RBS-RJK Document 1-2 Filed 07/18/19 Page 3 of 35 PagelD# 9

VIRGINIA:
IN THE CIRCUIT COURT OF THE CITY OF NORF OLK
JOSEPH COVELL BROWN,
Plaintiff,
Vv. No. LUM wot
MARCUS PORTER

In his individual capacity,
3341 Argonne Ave.
Norfolk, Va 23509

(City of Norfolk)

and

NORFOLK STATE UNIVERSITY,
SERVE: Pamela F Boston
University Counsel
700 Park Ave. Suite 101
Norfolk, Va 23509
(City of Norfolk)

THE BOARD OF VISITORS OF
NORFOLK STATE UNIVERSITY,
SERVE: Pamela F Boston
University Counsel
700 Park Ave. Suite 101
Norfolk, Va 23509
(City of Norfolk)

 

and

THE COMMONWEALTH OF VIRGINIA,
SERVE: Mark Herring
Attorney General for the
Commonwealth of Virginia
900 E. Main St.
Richmond, Va 23219
(City of Richmond)

and

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)

TRACCI K. JOHNSON )
In her individual capacity, )
9518 3 Bay St. Unit 125 )
Norfolk, Va 23518 )
(City of Norfolk) )
)

Defendants. )

COMPLAINT

Plaintiff, Joseph Covell Brown, in support of his Complaint against Marcus Porter,
Norfolk State University, the Board of Visitors of Norfolk State University, the Commonwealth
of Virginia, and Tracci K. Johnson states the following:

NATURE OF THE ACTION

1. Plaintiff seeks damages for the violation of his due process rights by government

officials acting under color of law in clear violation of established standards.

2. Plaintiff seeks damages for the gender discrimination against him by government

officials acting under color of law in clear violation of established standards.

3. Plaintiff seeks damages for the violation of his freedom of speech rights by

government officials acting under color of law in clear violation of established standards

4. Plaintiff seeks damages for the violation of his due process rights and gender

discrimination by government entities.

5. Plaintiff seeks damages for breach of contract.

THE PARTIES
6. Plaintiff Joseph Covell Brown (hereinafter “Brown”), is a citizen and resident of
New Jersey.

7. Brown attended NSU as a student from August 2014 through June 2017.

8. Brown is a member of the Muslim faith.
Case 2:19-cv-00376-RBS-RJK Document 1-2 Filed 07/18/19 Page 5 of 35 PagelD# 11

9. Marcus Porter (hereinafter “Porter”) was an official at Norfolk State University at
all times relevant to this complaint.

10. Upon information and belief, Defendant Porter was the Assistant Director of
Student Conduct at Norfolk State University at all times relevant to this complaint.

11. = Norfolk State University (hereinafter “NSU”), is a public institution pursuant to
Va. Code Sec. §23.1-1900 et seq.

12. Defendant NSU receives federal funding.

13. Upon information and belief, Defendant NSU’s Federal School Code (also known
as its Title IV Institution Code) is 003765,

14. The Board of Visitors of Norfolk State University composes a corporation
organized and existing under the laws of the Commonwealth of Virginia, Va, Code
§23.1-1900 et seq., under the name and style of “The Visitors of Norfolk State
University,” formed for the purpose of establishing and maintaining the provisions and
duties of NSU’s teachers, staff and agents; and at all times relevant to this complaint,
maintaining, operating and directing the affairs of NSU (as used herein, the Board of
Visitors of Norfolk State University and Norfolk State University are referred to
collectively as “NSU”),

15. Plaintiff Brown filed a timely notice of claim against the Commonwealth of
Virginia (hereinafter “The Commonwealth”) as required by Va. Code § 8.01-195.6,

16. Tracci K. Johnson (hereinafter “Johnson”) was an official at NSU at all times
relevant to this complaint.

17. Upon information and belief, Defendant Johnson was the Dean of Students at all

times relevant to this complaint.

 
Case 2:19-cv-00376-RBS-RJK Document 1-2 Filed 07/18/19 Page 6 of 35 PagelD# 12

18. This Court has jurisdiction over these claims because all transactions and
occurrences relevant to this complaint occurred in Norfolk, Virginia.

BACKGROUND
19, In order to pay his tuition at NSU, Plaintiff Brown took, and remains responsible
for the repayment of, student loans with interest,
20. In 2015, Plaintiff Brown was placed on disciplinary probation for the 2016 to
2017 academic year.
21. The aforesaid disciplinary probation ended in May of 2017.
22. In June of 2017, Plaintiff Brown was completing the final paperwork for a
lucrative study abroad program, to which he had been accepted and intended to undertake
during his senior year at NSU.
23. On or about June 14, 201 7, Plaintiff Brown was suffering from sciatica in his left
hip and could barely walk.
24, NSU routinely publishes its disciplinary procedures online, Those procedures in
place during June of 2017 were printed on July 20, 2017 by Plaintiffs counsel and are
attached hereto as “Complaint Exhibit 6”.

FACTS

25. On or about June 11, 2017, Plaintiff Brown and his roommate Davonte’ Smith
(hereinafter “Smith”) were texting each other.
26. During the aforesaid texting, Brown and Smith were engaged in a conversation
about food and dirty dishes in their room.
27, During the aforesaid texting conversation, Brown and Smith were either

physically present within the same room or in adjoining rooms.

 
Case 2:19-cv-00376-RBS-RJK Document 1-2 Filed 07/18/19 Page 7 of 35 PagelD# 13

28. Evidence available to NSU officials indicated that Smith considered the texting
conversation to be playful in nature.

29. During this texting conversation, Plaintiff Brown allegedly texted the phrase
“Text me again and im breaking your jaw.”

30. Upon receipt of the aforementioned text, Smith texted Brown again.

31. Brown did not break Smith’s jaw.

32, Three days later, on June 14, 2017, Defendant Porter transmitted a notice to
Brown of an alleged violation of the NSU’s Code of Student Conduct (a copy of said
notice is attached hereto as “Complaint Exhibit 1”),

33, Defendant Porter transmitted the aforesaid Notice to Plaintiff Brown via email, at
about 4:58 p.m. on June 14, 2017.

34. The aforesaid Notice required Brown to vacate his residence hal] no later than
7:00 p.m. on June 14, 2017.

35. Pursuant to the aforesaid notice, Brown was given approximately one hundred
and twenty-two minutes to receive the email, read it, pack all of his possessions, find
alternative housing, arrange transportation and vacate his dormitory room.

36. At the time the aforesaid notice was transmitted, Brown was working in an
administrative office at NSU.

37. When Brown finished work on June 14, 2017, he received the aforesaid notice
and barely managed to rush to his dormitory room and successfully vacate it within the

cursory deadline.

 
Case 2:19-cv-00376-RBS-RJK Document1-2 Filed 07/18/19 Page 8 of 35 PagelD# 14

38. | Though Brown vacated his dormitory room prior to the deadline, he had to
abandon many of his possessions, and was unable to arrange transportation or alternate
housing for the evening.

39. With nowhere else to go, Plaintiff Brown spent a restless night in the waiting
room of the NSU Campus Police Station, tormented by pain from his sciatica after having
to abandon his medications along with other possessions in his dormitory room.

40. On the morning of June 15 , 2017, at approximately 8:57 a.m., Defendant Porter
transmitted a Second Notice Letter “to schedule a meeting to discuss the investigation of
a report...that [Brown] violated section(s) of the Code of Student Conduct.” (a copy of
said notice letter is attached hereto as “Complaint Exhibit 2”)

41. The aforesaid Second Notice Letter indicated that the conduct conference would
be at the NSU Campus Police Station at 10:00 a.m. on June 15, 2017.

42. At the time the notice email was sent, Plaintiff Brown was still at the NSU
Campus Police Station.

43. There is no indication that Brown saw or read the email with the attached Notice
Letter during the sixty-three minute interval between transmission and the conduct
conference,

44. Upon information and belief, Defendant Porter met Plaintiff Brown at the NSU
Campus Police Station around 10:00 a.m. on June 15, 2017,

45, Upon information and belief, Defendant Porter and NSU Campus Police Officers

questioned Plaintiff Brown at the NSU Campus Police Station around 10:00 a.m. on June

15, 2017.

 
Case 2:19-cv-00376-RBS-RJK Document 1-2 Filed 07/18/19 Page 9 of 35 PagelD# 15

46. Upon information and belief, during the aforesaid questioning, Defendant Porter
asked Plaintiff Brown if he is Muslim, to which inquiry Brown affirmed that he is.

47. There is no indication that any witnesses were present for the conduct conference.
48. There is no indication that any counsel, support person or advisor was present to
speak for or give advice to Brown at the conduct conference.

49. There is no indication that Brown presented any defense at the conduct
conference.

50. There is no indication that specific allegations against Brown and the potential
consequences were explained to Brown before or during the conduct conference,

51. Plaintiff Brown was not afforded a reasonable opportunity to assess the
accusations, formulate a defense, contact counsel, contact witnesses or otherwise prepare
for a hearing.

52. On June 15, 2017, the same day as the aforesaid conduct conference, Defendant
Porter sent a Resolution Letter to Plaintiff Brown via email, informing Brown that he was
being held responsible for “violation of the Code of Student Conduct specifically, No.
20-Threatening Behavior (Probation Violation).” (a copy of this Resolution Letter is
attached hereto as “Complaint Exhibit 3”)

53. The aforesaid Resolution Letter informed Brown that he was being expelled.

54. Until receipt of the Resolution Letter, Brown had received no written notice that
he was being charged with probation violation.

55. Until receipt of the Resolution Letter, Brown had received no written notice that

expulsion was a likely sanction.

 
Case 2:19-cv-00376-RBS-RJK Document 1-2 Filed 07/18/19 Page 10 of 35 PagelD# 16

56. Pursuant to NSU’s posted disciplinary procedures, violations punishable by
“expulsion, suspension and/or removal from housing” must be referred by the student
conduct officer “to the Student Conduct Board for formal resolution through an
administrative hearing.”

57. Pursuant to NSU’s posted disciplinary procedures, the formal resolution process
contains more procedural safeguards to an accused student than does the informal
resolution process.

58. Brown did not receive the additional procedural safeguards that should have been
afforded to him as a student accused of conduct punishable by “expulsion, suspension
and/or removal from housing.”

59. It is unlikely that an objectively reasonable fact finder, aware of the context of the
texting conversation, would have interpreted the text message in question as a true threat.
60. Expulsion, and all of its attendant consequences, is a disproportionate punishment
to the conduct alleged.

61. | Throughout the course of the disciplinary proceedings against Brown, Defendant
Porter acted as investigator, fact finder and decision maker.

62. Among other reasons, Brown was denied a fair and impartial hearing because
Defendant Porter assumed the emphatically separate roles of investigator, fact finder and
decision maker during the proceedings,

63. Less than twenty-four hours elapsed between the transmission of notice to Brown
and the decision to expel Brown,

64. Plaintiff Brown filed an Appeal Form on June 22, 2017.

 
11 of 35 PagelD# 17
1-2 Filed 07/18/19 Page
; - -RBS-RJK Document
Case 2:19-cv-00376

Procedures”; consideration of “new evidence unavailable during the original conduct
conference/hearing”: and, consideration of “whether the sanctions imposed were
disproportionate to the violation.”
66. Plaintiff Brown’s appeal letter indicated that a witness had been present during
the texting conversation.
67. NSU sent an Appeal Response on June 28, 2017 (attached hereto as “Complaint
Exhibit 4”) indicating that Plaintiff Brown’s appeal was denied.
68. The Appeal Response, dated June 28, 2017, indicated that denial of Brown’s
appeal was final.
69.  NSU’s Appeal Response Rationale (attached hereto as “Complaint Exhibit 5”)
indicates:
a. that the Appeal Conference was held on June 15, 2017;
b. that Defendant Johnson was the Appeal Officer at the Appeal Conference; and
c. that Plaintiff Brown attended the Appeal Conference via email.
70. =NSU’s Appeal Response Rationale did not address the issue of “whether the
conduct conference/hearing was conducted fairly and in conformity with prescribed
procedures,”
71. NSU’s Appeal Response Rationale did not address “new evidence unavailable
during the original conduct conference/hearing.”
72. NSU’s Appeal Response Rationale arguably concluded that expulsion was not

disproportionate to the conduct at issue, but only after including references to prior

 
conduct that was not at issue in the Notice sent by Defendant Porter on June 15, 20] 7, as
well as references to the language and content of Plaintiff Brown’s appeal letter,
73. Pursuant to an attorney request for documents, NSU produced a Complainant’ s
statement, signed and dated June 14, 2018! more than a year after the incident and
almost a year to the day after the conduct conference at which the Statement should have
been presented,
74, The aforesaid Complainant’s statement does not identify Joseph Brown,
75. Pursuant to an attorney request for documents, NSU produced a document titled
Investigative Rationale, purportedly from Defendant Marcus Porter’s office, which is
unsigned and undated.
76. That the aforesaid Investigative Rationale asserts:
a. that Defendant Porter interviewed Plaintiff Brown at the N SU Campus Police
Station on June 15, 2017;
b. that Plaintiff Brown was told that the text Message violated the Student Code of
Conduct; and |
c. that Plaintiff Brown was told that the text message violated Brown’s disciplinary
probation.
77, Brown was humiliated by the expulsion and suffered severe emotional stress as a

result.

 

' The statement is handwritten, and dated at the top in handwriting by the Complainant as June 14, 2018. At the
bottom, next to the Complainant's Signature the Complainant dated his signature as June 14, 2018. Underneath the
Complainant's signature, a Conduct Officer believed to be Defendant Marcus Porter signed his name and dated his
signature as June 14, 2018.

10

 
Case 2:19-cv-00376-RBS-RJK Document 1-2 Filed 07/18/19 Page 13 of 35 PagelD# 19

78. NSU’s expulsion of Brown has permanently tarnished his academic record,
potentially closing the door on numerous career and educational opportunities, and
reducing his future earnings potential.

79. NSU’s expulsion of Brown has foreclosed the possibility of an enlightening and
career enhancing study abroad program, to which Brown had already applied and been
accepted prior to the conduct conference of June 15, 2017.

80. The Defendants’ violations of and sheer indifference to Brown’s Constitutional
rights has shattered Brown’s confidence in American ideals.

81. On or about February 19, 2018, Plaintiff Brown travelled from New J ersey to
NSU to obtain his transcript.

82. This trip followed multiple failed attempts to obtain his transcript through
requests.

83. In February of 2018, Plaintiff Brown was attempting to complete his degree in
New Jersey, and thereby mitigate the damage caused to his reputation and future earnings
by the Defendants.

84. During the aforesaid trip to NSU, Plaintiff Brown went first to the building
occupied by NSU Campus Police to announce his presence and purpose of visit.

85. Brown then went to the registrar’s office to obtain his transcript.

86. While in the administrative offices to request his transcript, multiple NSU
Campus Police Officers appeared and publicly arrested Brown in full view of several of
his friends and former colleagues.

87. | NSU Campus Police put Brown in handcuffs and led him out of the registrar’s

office in full view of several of his friends and former colleagues.

11
88. Brown was humiliated, denigrated and defamed by this incident and suffered
severe emotional stress as a result.

89. NSU Campus Police then transported Plaintiff Brown to the Campus Police
Station where they informed him that he was being charged with trespassing and would
be turned over to the Norfolk Police Department.

90. Upon information and belief, NSU’s expulsion of Brown prompted the actions of
NSU Campus Police on February 19, 2018. |

91. Upon information and belief, an unidentified N SU official requested that NSU
Campus Police arrest Brown on February 19, 2018.

92. NSU Campus Police released Plaintiff Brown after being made aware by both
Brown and Brown’s attorney that Brown had reported in at the NSU Campus Police
building and received permission to visit the Tegistrar’s office to obtain his transcript,

93. Shaken and embarrassed, Brown left the NSU campus on F ebruary 19, 2018 still
without his transcript.

94. The incident rendered worthless an expensive and time consuming trip from New
Jersey to Virginia for the purpose of obtaining his transcript.

95. Defendants? expulsion of Brown has caused and continues to cause Brown
significant reputational injury, significant professional injury, losses in earnings,
substantial losses to future earnings and benefits, Significant pain and suffering, medical
expenses, embarrassment, anguish and severe emotional distress.

96. Upon information and belief, monies remaining in Brown’s student account were

not returned before NSU shut down his student account.

12

 
f 35 PagelD# 21
6-RBS-RJK Document 1-2 Filed 07/18/19 Page 150
Case 2:19-cv-00376- -

COUNT I: DENIAL OF DUE PROCESS IN VIOLATION OF
THE UNITED STATES CONSTI TUTION AND THE CONSTITUTION OF THE
COMMONWEALTH OF VIRGIN FA,
97. The allegations contained in Paragraphs | through 96 and all subsequent

allegations are adopted and incorporated by reference as if set forth fully in this
paragraph.
98. The Tight to due Process is enshrined in the Fourteenth Amendment to the United

99, The ri ght to due process is enshrined in Article | Section 11 of the Constitution of

100. Officials at government funded universities, like Defendants Porter and Johnson,

Rights are preserved,

103. NSU’s Tules and regulations governing disciplinary Proceedings are found within
its Student Policy Handbook,

104, The Commonwealth Owes a duty to students to Oversee state sponsored

process.

13

 
Case 2:19-cv-00376-RBS-RJK Document 1-2 Filed 07/18/19 Page 16 of 35 PagelD# 22

105. The manner in which Defendant Porter investigated and expelled Brown denied
Brown his clearly established due process rights.

106. Furthermore the manner in which Defendant Porter investigated and expelled
Brown failed to adhere to NSU’s published procedures for disciplinary proceedings.

107. The flippant manner in which Defendant Johnson processed Brown’s appeal
denied him his clearly established due process rights.

108. Furthermore, Defendant Johnson failed to follow NSU’s published procedures
governing appeal resolution.

109. Defendants Porter and Johnson are both government officials.

110. Atall times relevant to this complaint, Defendants Porter and Johnson were acting
under the color of law.

111. Pursuant to 42 U.S.C. § 1983, Defendants Porter and Johnson are liable to Brown.
112. NSU’s procedures, even if followed, would have fallen short of the clearly
established standards for minimum due process in student discipline hearings,

113. The Commonwealth is likewise responsible for NSU’s disciplinary procedures
falling below the minimum due process required by the United States Constitution.

114. For these reasons, NSU and the Commonwealth are liable to Brown.

115. Brown has suffered damages as a direct and proximate result of these denials of

his Constitutional right to due process.

14
Case 2:19-cv-00376-RBS-RJK Document 1-2 Filed 07/18/19 Page 17 of 35 PagelD# 23

COUNT I: DENIAL OF FREEDOM OF SPEECH IN VIOLATION OF
THE UNITED STATES CONSTITUTION AND THE CONSTITUTION OF THE
COMMONWEALTH OF VIRGINIA.

116. The allegations contained in paragraphs | through 114 and all subsequent
allegations are adopted and incorporated by reference as if set forth fully in this
paragraph,

117. The right to free speech is enshrined in the First Amendment to the United States
Constitution.

118. The right to free speech is enshrined in Article 1 Section 12 of the Constitution of
the Commonwealth of Virginia.

119. As described above, Defendants Porter and Johnson are government officials,
120. Upon information and belief, Defendant Porter’s decision to expel Brown was
based in part on Brown’s Constitutionally protected speech.

121. That Defendant Johnson’s decision to deny Brown’s appeal was based in part on
Brown’s Constitutionally protected speech.

122. Pursuant to 42 U.S.C. § 1983, Defendants Porter and Johnson are liable to Brown
for these abridgments of his Constitutional right to free speech.

123. Brown has suffered damages as a direct and proximate result of these denials of
his Constitutional right to free speech,

COUNT Ill: GENDER DISCRIMINATION IN VIOLATION OF TITLE IX.

124. The allegations contained in paragraphs 1 through 123 and all subsequent

allegations are adopted and incorporated by reference as if set forth fully in this

paragraph.

15

 
5 PagelD# 24
00376-RBS-RJK Document1-2 Filed 07/18/19 Page 18 of 3 g
Case 2:19-cv- - -

125. Pursuant to Title IX of the Education Act of 1972, schools receiving federal
financial assistance like NSU are prohibited from: excluding from participation in,
denying benefits of, or otherwise subjecting students like Brown to “discrimination under
any education Program or activity” on the basis of sex. 20 U.S.C. § 1681 ef seg.

126. The Commonwealth has a duty to ensure that state supported schools, like NSU,
comply with their dutjes under Title IX of the Education Act of 1972,

127. As described herein, Brown, a male, was investigated and expelled from NSU

128. Overa year prior to Brown’s expulsion, Brown complained to NSU officials that

130. Upon information and belief, NSU rarely if ever investigates or disciplines

131. This disparate treatment of genders constitutes gender discrimination in Violation

of Title IX of the Education Act of 1972,

132. Brown has suffered damages and continues to suffer damage as a direct and

proximate result of this disparate treatment.

133, Defendant NSU is liable to Brown under Title IX of the Education Act of 1972

for these damages,

134. The Commonwealth is likewise liable to Brown under Title LX of the Education

Act of 1972 for these damages,

16

 
COUNT Iv: DISCRIMINATION BASED JOINTLY ON RELIGION AND

GENDER IN VIOLATION OF TITLE IX,

136. Title Ix forbids religiously based discrimination by institutions such as NSU

when it is partially based on gender, ethnicity or national origin,

137. Upon information and belief, Defendants Porter and Johnson based the decision to

expel Brown in part or in whole upon his religious status as a Muslim,

138. Upon information and belief; Defendants would have been less likely to expel

Brown had Brown been of a different teligious conviction.
139,

140. Therefore, upon information and belief, Defendants would have been Jess likely

to expel Brown had Brown been a Muslim female.
14],

142. Brown has suffered damages and continues to suffer damage as a direct and

proximate result of this Violation of Title IX of the Education Act of 1972,

17

 
Case 2:19-cv-00376-RBS-RJK Document 1-2 Filed 07/18/19 Page 20 of 35 PagelD# 26

COUNT V: BREACH OF CONTRACT
143. The allegations contained in paragraphs 1 through 142 and all subsequent
allegations are adopted and incorporated by reference as if set forth fully in this
paragraph.
144. A contract, either express or implied, existed between Plaintiff Brown and NSU
during the period of Brown’s enrollment at NSU.
145. Brown fulfilled his contractual obligations to NSU by paying his tuition,
maintaining his grades, and abiding by NSU’s policies to the best of his ability and
understanding.
146. Upon information and belief, Defendant NSU drafted its disciplinary procedures,
147. The aforesaid disciplinary procedures constitute contractual terms between NSU
and students like Brown.
148. Certain procedures, safeguards, and rights contained within NSU’s disciplinary
procedures constitute contractual rights of NSU’s students.
149. NSU breached one or more of Brown’s contractual rights during its investigation
and expulsion of him in June of 2017.
150. Therefore, NSU is in breach of its contract with Brown.
151. Brown has sustained damages as a result of NSU’s aforesaid breach of contract.
152. In addition to the previously stated damages, Brown seeks restitution on the basis

of breach of contract.

18

 
| of 35 PagelD# 27
6-RBS-RJK Document 1-2 Filed 07/18/19 Page 21
Case 2:19-cv-00376- -

PRAYER FOR RELIEF
EMR RELIEF

A JURY TRIAL IS DEMANDED

Dated: 4 Song C019

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Respectfully Submitted

Goad. QS.

ne the,

 

ay

Alastair C. Deans (Va. Bar No. 83] 67)
P.O. Box 13915

Chesapeake, VA 23325

Telephone: (757) 412-9026

Email: alastairedeans(@omail com

Attorney for Plaintiff

19

 
Dean of Students Office

700 Park Avenue, Suite 318, Norfolk, Virginia 23504
Tel: (757) 823-2 152 Fax: (757) 823.2207

Web: www.nsuedu

 
    

NORFOLK STATE

June 14, 2017

Joseph Brown (433929)

15 Chester Ave Apt 2
Irvington NI. 07111

Dear J oseph,

On June 14, 2017, it was reported that you violated the Code of Student Conduct, specifically, No, 20.
Threatening behavior whether written or verbal, towards any member af the University community that
Causes an expectation of injury or implies a threat to cause fear.

You have the right to have your Case heard by a conduct officer through a conduct conference or the
Student Conduct Board through a formal hearing. Please contact Marcus Porter at 823-2336 to further
discuss, It is the responsibility of the respondent to notify witnesses of the date, time, and location of any
conduct proceedings,

In the interests of the health, safety, and welfare of the University community, you have been placed on
interim hall removal (effective immediate] Y) pending the outcome of your conduct matter, If you are in
the residence halls without permission or a police escort, you will be subject to arrest for trespassing.
You must move out of housing by 7:00pm today, June 14, 2017,

We recognize that the receipt of this letter may cause some students to experience anxiety,

Please examine our website which will provide additional information about the student conduct process
to include student rights, possible outcomes, and sanctions. This information can be found at

“Www. nstu.edu/student-affairs/student-judicial/,

Sincerely,
Marcus Porter, Student Conduct Officer

Ce: Dr. Michael Shackleford, Vice President of Enrollment Management and Student A ffairs
Tracci Johnson, Dean of Students
Dr. Faith Fitzgerald, Executive Director, Housing & Residence Life
Anthony Tillman, Resident Hall Director, Spartan Suites
Mecca Marsh, Director of Housing Operations, Spartan Suites
University Police, Investigations

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Norfolk State University—An Equal Opportunity Employer

 
Filed 07/18/19 Page 23 of 35 PagelD# 29
Dean of Students Office

700 Park Avenue. Suite 307, Norfolk, Virginia 23504
Pak (73%) 823-2199 Fan: (787) 823.9207
Web: ww w.nsu.edu

 

Tam Writing to schedule a meeting to discuss the investigation of a report submitted to the
Dean: of Students Office.

On Kine 14, 2017, it was reported that you violated the following section(s) of the Code of
Student Conduct:

 

   

a. 20- Threatening Behavior

   

I havé'schéduled a student conduct conference for June 15, 2017, at 10:00 am at the NSU
Campus Pélice Station. If the scheduled time is in direct conflict with a class, please call
me at 757-823-2152 to reschedule. At this meeting, you may ask any questions regarding
the student conduct process. If you fail to attend, a decision may be reached in your

absence. If you are found responsible for the misconduct, a Sanction will be issued at that
time.,

 

  

 

Maretis Porter
Student Conduct Officer

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Norfolk State Cniversity—An Equal ( Ipportunity Employer

 
Dean of Students Office

700 Park Avenue, Suite 318. Norfolk, Virginia 23504
Tel: (757) 823-2199 Fax: (757) 823.2297

Web: www.nstzedn

     

NORFOLK SHE UNIVERSITY
RESOLUTION

June 15, 2017

Joseph Brown
433929

15 Chester Avenue Apt 2
Irvington, NJ 07111

Dear Joseph,

I have concluded your case of'a reported violation of the Code of Student Conduct specifically,
No, 20-Threatening Behavior (Probation Violation). \ have found you responsible. As such, the
following sanctions are imposed:

Expulsion: Effective immediately, you are permanently separated rom Norfolk State
University,

*You must notify Norfolk State University Campus Police at 757-823-8102 Prior to any
campus visits.

You have five days from the date of this letter to appeal this decision, An appeal form has been attached
for your convenience. Please return your appeal to deanofstudents@nsu,edu,

Sincerely,

Marcus Porter
Student Conduct Officer

Cc. Dr. Michael Shackleford, Vice President of Student Affairs and Enrollment
Management
Tracci Johnson, Dean of Students
Dr. Faith Fitzgerald, Executive Director, Housing & Residence Life
Anthony Tillman, Resident Hall Director, Housing & Residence Life

Chief Troy Covington, University Police
Cassondra Gwathney, Acting Director of Financial Aid
Mike Carpenter, Registrar

Sandra Riggs, Bursar

Cary Lazarus, SpartanCard Manager

Dr. Vanessa Jenkins, Counsel ing Center

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31
Case 2:19-cv-00376-RBS-RJK Document 1-2 Filed 07/18/19 Page 25 of 35 PagelD#

Dean of Sindents Office

- 700 Park Avenue, Suite 318, Norfolk, Virginia 23504
Tel: (757) 823-2152 Pax: (737) 823.9207

Web: www.nsu.edu

         

NORFOLK STATE UNIVERSITY

June 28, 2017
Joseph Brown (0400667)
Subject: Appeal from Disciplinary Sanction

This letter is in Fesponse to your appeal from a sanction imposed at a Student Conduct
Conference on June 15, 2017. After carefull y Considering your request, your appeal is
denied. This appeal decision is final.

Your sanctions remain as imposed:

-Expulsion: Effective immediately, you are permanently separated from Norfolk State
University.

*You must notify Norfolk State University Campus Police at 757-823-8102 prior to any
campus visits.

I wish you the best in your future endeavors.
Sincerely,

Tracci K. Johnson
Dean of Students

Cc: Dr. Michael Shackleford, Vice President of Student Affairs and Enrollment
Management
Marcus Porter, Student Conduct Officer
Dr. Faith F itzgerald, Executive Director, Housing & Residence Life
Anthony Tillman, Resident Hall Director, Housing & Residence Life
Mecca Marsh, Director of Housing Operations, Spartan Suites
University Police, Investigation
Cassondra Gwathney, Acting Director of Financial Aid
Mike Carpenter, Registrar
Sandra Riggs, Bursar
Cary Lazarus, Spartan Card Manager
Dr. Vanessa Jenkins, Counseling

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t1-2 Filed 07/18/19 Page 26 of 35 PagelD# 3
case “BRA MEF BED BLT

APPEAL RESPONSE RATIONALE

1. Appeal Conference Date: June 15, 2017 é

 

2. Meeting Attendee’s: Joseph Brown (via email) .

3. Appeal Officer: Tracci K. Johnson |
—tacer &. Johnson

SUMMARY OF FACTS

Reason for appeal (what did they check.on
the form): | | :

VI To determine whether the conduct conference/hearing was conducted fairly and in
conformity. with prescribed procedures, |

Vv] To consider new evidence unavailable during the original conduct conference/hearing,

4
lv} To consider whether the sanctions imposed were disproportionate to the violation.

Appeal Decision io

(Approved
ClApproved with revision
lv] Denied

roommate’s jaw. In his previous conduct case he punched Someone in the face. Based on the
language and content of his appeal letter, I felt that his behavior was volatile and I did not want

to compromise the safety of the student body.

COMPLAIAT Exnigiy &

 
7 of 35 PagelD# 33
-2 Filed 07/18/19 Page 2

; -RBS-RJK Document 1-2

Case 2:19-cv-00376-R

 

7/20/2017

Norfolk State Univers

Student Conduct Process

 

AnZ

Index | Directory | MyNSU i Wab i

 

Student Conduct

 
 
 

 

 
 
 
 

Ex. 6

COMPLaIvY

 

Violations

1. Abuse of Student conduct System to include but not limited to Providing false information during the Student conduct Process and
completing sanctions within allocated time period.

2. Abuse of Safety equipment to include but not limited to tampering with or ngaging fire al.

arms, extinguishers or smoke detectors.
3. Acts of dishonesty to include but not limited to furnishing false information to University officials or forgery of any University document. For
academic dishonesty, refer to Academic Dishonesty Procedures,
4. Alcohol the use, possession or distribution of alcoholic b
5. Computer Misuse- Refer to

6. Conduct that threatens or enda

/or not

ngers the health or safet

Yy of any person including one's self,
/aPsi/\wownsu.edulstudent-affars'student-judicia/student-con

duct-process

119
7/20/2017

https:/www.nsu

 

Student Conduct Process
7. Gambling for money,

8. Dating Violence
9. Domestic Violence

10. Drugs the uSe, possession or distribution of illegal drugs or misuse of prescri
paraphernalia,

in any form on University Property.

res with University sponsored events/activities:
operations.

12. Failure to comply with directions of University employees or law en
13. Harassment to include but not limited to bul
14. Hazing- Hazing includes, but is

forcement officers.

lying/eyber-bullying, intimidation and/or hate crimes.

not limited to any situation which: creates a risk of physical injury; causes embarrassment and/or discomfort:

involves harassment and/or humiliation; causes psychological or emotional distress: involves degradation and/or ridicule of an individual or
group; involves or includes the willful destruction or removal of public or private Property; involves the ®xpectation that new/perspective
members will Participate in an activity, but full members will not,

15, Obscene behavior to include but not limited

18. Retaliation acai

investigation, or Participates in the reso
misconduct - Refer to BOY Policy #5 (2014) Sexual Misconduct Policy ; Refer to Admin Policy #

18. Stalking is when a Person, on more than ane. Occasion, engages in any behavior or conduct directed at another Person with the intent to place
tat other person in reasonable fear of harm, death, crimina{ Sexual assault, or bodily injury to that Person or to that person's family or household
member. Cyber-stalking is form of Stalking or harassment that involves the intentional act of

lution process,

distress

19. Theft includes the USE, Femoval or possession of University/individual property without entit
20. Threatening behavior whether written or verbal, towards any member of the University co
implies a threat to cause faar,

21. Unauthorized access or entry to any University building.

22. Unauthorized recording and/or distribution to include but not limited to
Permission or consent.

23. Weapons-Refar to Violence Prevention Pp licy.

24. Vandalism includes but is not limited to destroying or damaging University Property or property of another person.

25. Violence to Persons includes but is not limited to intentionally or recklessly causing harm to any person.

26, Violating federal, state or local laws that legitimately affect the University’s interest.

27. Violating any published Board of Visitors or University policies or rules.

fement or authorization,
mimunity that causes an expectation of injury or

Pictures, audio or videos of any Person without their explicit

Procedures

Procedures

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COMPL A Lewy Ex
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2/9
Mips:/iwwew.nsu.edulstudent-afairs/studentud

7/20/2017

Student Conduct Process
conduct offi i formal report is made.
Students should be aware the criminal (Police) and Student conduct (University) Processes are separate but may occur concurrently.
nformal Resolution

 

Step 1. In vestigation

Upon receist of the incident ra
complainant and/or others a
completion of the investigati

Por, a student conduct officer
S necessary, Additionally, all
on, the following may occur:

* The student conduct officer deter
T

will begin an investi

gation that will include inte
documentary and phys

views of the respondent, the
ital evidence will be obtai

ned and reviewed, Upon

mines there is insufficient informati

Step 2. Notification

The respondent will receive a formal complaint of a violati

following methods: emailed to the student's University-is

on through written notice. The noti
record. The letter of notice will include:

» The reported Violation(s
« The date, time, and |

} citing the Code of Student Conduct.
©Cation of the conference.
The rights of the respondent.

Step 3. Conference

During the conference, the student conduct officer will present the findings to the respondent. Asa resuit, the followin

g May occur:
and the case is closed,

or removal from housing. The Student conduct officer will then refer the case to the Student c.
through an administrative hearing.

A respondent placed on interim Suspension may request to have their case heard by the conduct officer through a conduct conference or
referred to the Student Conduct Board.

The student conduct officer, at his or her discretion, may refer a case to the

If the respondent fails

to attend the conduc
The respondent will

t conference, the student conduct officer may render a decision based
then forfeit their right to appeal the decision anc/

an the evidence available.
or Sanction(s) imposed by the stud

ent conduct officer.
icial/student-conduct-process

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3/9
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Case 2:19-cv-00376-RBS-RJK Document 1-2 Filed 07/18/19 Page 30 of 35 PagelD# 3

 

7/20/2017

Student Conduct Process
Formal Resolution
EES Fe ME LION

Ppropriate student conduct Panels to provide hearings concernin

9 reported violations of the Code of Student
Conduct that could result in expulsion, suspension and/or removal from housing.

1. Notification

following methods: emailed to the student's University-issued email

nent address according to the University's record. The letter of notice will include:

The reported violation(s) citing the Code of Student Conduct.
» The date, time, and location of the hearing.
« The rights of the respondent.

2. Hearing

The student conduct officer will schedule a hearing with the student conduct panel no more than ten (10) business dates after the conduct
conference. This may be extended when reasonably necessary. If the respondent wishes to request a delay, he/she must notify the student
conduct staff within twa (2) business days of the scheduled hearing.

The student conduct panel for each hearing will be composed of five (5) members from the Universi
Each student conduct panel must include at least three (3) students. All members of the student ¢o
Student conduct board and participate in Mandatory training covering all
apply to become a member of the student conduct board. Students se

violations ai the University. All appointments are subject
ierms.

ty to include employees and students.
nduct panel will be selected from the
aspects of the conduct process. Members of the University must
rving must be in good academic standing

with no serious conduct
io approval by the dean of Students or designee and serve one-year renewable

ha

The Chief Justice or desi

gnee will serve as the chair for each hearing panel.
following guidelines:

The chair of the panel will conduct hearings according to the

GF

* Hearings are closed to the public.
* Hearings are tape-recorded; however, deliberations of the hearing panel will remain private.

» Incidents involving more than one respondent, the panel will jointly conduct a hearing. Separate findings will be made for each
respondent. At the discretion of the student conduct officer, individual hearings may be permitted.

« The complainant, respondent and advisors will be allowed to attend the entire portion of the hearing except for the deliberation and

findings. Only in cases invalving vi i

Compiaivy Ex 6

4/9
 

7120/2017

Student Conduct Process

findings of facts (evidence

), and rationale for the decision.
usiness days of the hearj

This report
ng. A written decision will be Sent to the res

within two (2) dusiness days after re

pondent
ceiving the hearing panel's réport.

If the responden: fails to. attend the hearing, the Student: Conduct Board may render a decision based on the evidence available. The respondent
will then forfeit their right to appeal the decision and/or Sanction(s) imposed by the Board.

There are certain times of the year and possible extenuating clreumstances that may remove the option of the student conduct panel, During this
time, a student conduct officer will adjudicate cases, The Oplion of a student conduct panel may be

removed on the following occasions:
1, When the Student conduct board is participatin
2. When the University is not in session.

3. During the final iwo weeks of the fall or Spring semester.
*. During summer sessions.

g in training,

&

 

Appeals

Appeal forms may
Form.pdf. The ba

 

Upon receipt of the appeal, the d
request a meeting with the dean

an of students’ will review and provide a wri ness days. The respondent may
of students to further discuss the appeal: however, the decision i
submitled and is final,

5
COMPLOIwY Ex
PE

 

Academic Matters

A formal grievance may be filed in the Dean of Students Office. Every attempt is made to ensure that the complainant has Sought resolution of the
grievance at the appropriate levels.

‘psi edulstudentafsis/studentjudcalstudent conduct process

5/9
 

7/20/2017

Student Conduct Process
Grade Appeals

The instructor has the res
believed to be in error.

The student confers with the instructor involved,
The student and instructor (preferabt

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Academic Dishonesty
Cases involvitig academic di
student accepts responsibilit
on probation.

shonesty are immediately sent to the Faculty-

Student Grievance Commi
y, the instructor May issue an appropriate gra

ttee if the student denies responsibility. If the
de sanction and notify the

Dean of Students Office to place the student

if it is found that sufficient

Faculty-Student Grievanc
colleges.

documentation is Present to wa

frant a hearing, the Dean of Students Office will request to convene a hearing with the
e Committee. The Faculty-

Student Grievance Committee is comprised of faculty representatives from the schools and

&

The panel for each academic dishonesty heari
of the panel (non-voting) will conduct the h
Facuity-Student Grievance committee is fi

COMPLAINT Ey 6
Pf

 

’ During the Conduct Process

Responsibilities

 

Jiwww psu edu/ resident/
nt Services Center.

University email serves as the Official communication with students. It is the r

maintain and monitor their University email
proceedings.
Rights of the Accused (Respondent)

https:/Awww, nstveduistudent-affairs/student-judicialstudent-conduct-process

6/9
Case 2:19-cv-00376-RBS-RJK Document 1-2 Filed 07/18/19 Page 33 of 35 PagelD# 39

7/20/2017

Student Conduct Process
a

The right to confidentiality of educational records pursuant to
The right to be informed of the charges against him/her in wri

Family Educational Rights and Privacy Act (FERPA) of 1974.
ting.

« The right to have a Support person or advisor ings. This person may not actively participate in the
hearing but may give advice to the complainant.

The right to request, In advance, a copy of the incident report.
« The right to call a reasonab!

€ number of witnesses. Names of the witnesses must be provided to the Dean of Students Office at least one day
Prior to the hearing,

The right not to appear or to remain silent at the hearing.

the evidence in Support of the viclation will be presented,
* The right to 2 fair and impartial hearing.

In the event the respondent does not appear at the hearin

g, after proper notification,
considered and adjudicated.

Rights of Victims (Complainant)

Rights of Complainant and Respondent (Title 1X/Sexual Misconduct)

 

The right to have a Support person or advisor present during student conduct proceedings. This person May not actively participate in the
hearing but may give advice to the compiainant.

The right to be informed of the suicome in cases j
The right to a fair and impartial hearing.

nvolving violence and sexual misconduct as it relates to Title IX.

2

Respondents of sexual misconduct have the ri
information relevant to the complaint.

The parties inve
Parties involved

ght to a student conduct hearing and the right to identify and produce witnesses who may have

DG

lved may bring an advocate, advisor or Support person to any meeting with the student conduct officer/panel,
May present their case before the hearing panei by submitting documents and other relevant evidence,
it should be noted that while @ach party will have the opportunity to present his/her case, the student conduct offic
and obtain any additional evidence and/or witnesses relevant to the grievance.

Attorneys will net be permitted ts personally participate in University student conduct proceedings.
Student conduct hearings do not replace or Substitute criminal prosecutions and

io seek justice through the criminal justice system and/or civil courts as appropri

Come@tamry Ex ¢

er has the responsibility to identify

ate.

Refer to BOV Policy # 85 (2015) Title bx: Sexual Violence Discrimination Harassment, and Retaliation

Sanctions

Nips: iwwa.nsu.eduistudent-affairs/student judicialistudent-conduct process

7/9
a ’

7/20/2047

Warning: An official written notice that the Student has violated the

Disciplinary Probation: Disciplinary probation is for @ Specific leng

the following: loss of good standing and/or denial of the privi

Educational Project: The requirement to attend

Community Service: The requirement to complete Supervised service.

Counseling Referral: The requ
conference/shearing. Upon campietio
Provided by the Counseling Center.

Fine: A sum imposed as a result of an offense: th
Loss of Privilege: The denial of Specified privilege

Restitution: The repayment for dama
community, guests of the University, a
be paid by cashier's check o
not made by the end of the

nd/or other Sppropriate third pa
money order. A disciplinary hold will be

University Housing Removal: The student’

: Present or participate in a Program related to the violation

irement to visit the Counseling Center
n of the screening, if any additional

Sum must be reasonable and may be im
S for a designated period of time.

ge to University property or facilities: payment for dama

Student Conduct Process

Code of Student Conduct.

imposed and may include, but not limited to

. It may also require writing reflective Papers.

and compiete a Screening within five (5) business days of the respondent's
Services are recommended they must be completed within the timeframe

posed depending on the Severity of the violation.

ge to the property or person of a member of the University
ries; repayment of misappropriated or misused University funds. Restitution must
placed on the responden

t's record until payment is made; however, if Payment is
Semester, the respondent's account Will be charged.

ffice of Housing & Residence Life.

ost any guests in the lobby of the student's residence hall and/or individual room.

S privilege to live or visit any residential hall is permanently revoked.

io vacate the campus with 24 hours of
riy, events or activities.

i § schedule, hall relocation and/or interim suspension.

uspension is imposed, the respondent may request a

COmMPL AwY Ex ¢

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Of &
7/20/2017

Student Conduct Process

  

A

 

 

bout NSU | Administration | Academics |

 

Research | Student Life | Athletics |

 

 

 

 

Alumni | Giving to NSU | Policy Library
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ersity, 700 Park Avenue,
823-8600

Norfolk VA 23504 USA | NSU Operator: 757-

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9/9
